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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

AMERICAN EDUCATIONAL RESEARCH
ASSOCIATION, et al.,

       Plaintiffs,
                                               Civil Action No. 8:25-cv-01230 (SAG)
       vs.

U.S. DEPARTMENT OF EDUCATION,
et al.,

       Defendants.



                                   PROPOSED ORDER

      The Court has considered Plaintiffs’ Motion for Leave to File Under Seal, which is hereby

GRANTED.




Dated: ____________________                                      _______________________
                                                                 Hon. Stephanie A. Gallagher
                                                                 United States District Judge
